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                                             149 Filed 08/30/22
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August 29, 2022


VIA ECF

Honorable Ronnie Abrams
United States District Court
                                                                                                  Application Granted. As this action is referred
Southern District of New York
Thurgood Marshall United States Courthouse                                                        to me for general pretrial supervision, the
40 Foley Square                                                                                   parties are reminded to address scheduling
New York, New York 10007                                                                          matters to the undersigned.

           Re:         Adjournment of Briefing Schedule

                       FRHUEB, Inc., v. De Freitas Abdala, et al.                                                                                           8/30/2022
                       Civil Action No. 1:21-cv-07395 (SDNY)

Dear Judge Abrams:

        This firm represents Plaintiff FRHUEB, Inc. (“Plaintiff”) relative to the above-captioned
matter. Due to a medical emergency of an attorney working on this matter with me, I am
respectfully requesting a brief adjournment of the briefing schedule to the motion to stay the matter
for eleven (11) days as follows: Opposition due from 9/1/22 to 9/12/22 and any time for a reply
will be due as provided for under the rules. I have obtained the consent of my adversary, Jeannette
Carmadella, Esq., with respect to this adjournment request.

           Thank you for your courtesies in considering this request.

                                                                                       Respectfully submitted,
                                                                                       Patrick Papalia
                                                                                       PATRICK PAPALIA

PP/js

cc:        Jeannette Carmadella, Esq. (Via ECF)




        Voorhees, NJ | Hackensack, NJ | Princeton, NJ | Philadelphia, PA | Harrisburg, PA | Red Bank, NJ | New York, NY | Wilmington, DE | Houston, TX
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